            Case 1:21-cv-09066-GHW Document 6 Filed 11/05/21 Page 1 of 1
                                                                         USDC SDNY
                                                                         DOCUMENT
                                                                         ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT
                                                                         DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK
                                                                         DATE FILED: 11/5/2021
-----------------------------------------------------------------X
YENSY CONTRERAS, individually, and on behalf of :
all others similarly situated,                                   :
                                                                 :
                                                  Plaintiff, :               1:21-cv-9066-GHW
                                                                 :
                               -against -                        :                ORDER
                                                                 :
AUBERGE RESORTS LLC,                                             :
                                                                 :
                                               Defendant. X
----------------------------------------------------------------
GREGORY H. WOODS, United States District Judge:
         Plaintiff failed to provide Plaintiff’s address and county of residence in the November 3,

2021 civil cover sheet submitted in this case. Dkt. No. 2. No later than November 10, 2021,

Plaintiff is ordered to submit via ECF a letter to the Court providing Plaintiff’s address and county

of residence.

         SO ORDERED.

 Dated: November 5, 2021                                       _____________________________________
 New York, New York                                                     GREGORY H. WOODS
                                                                       United States District Judge
